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                           UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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   10   DERRICK HARRIS,
                                    ) Case No. 2:21-cv-07999-WLH (JPRx)
   11                Plaintiff,     )
   12
                                    ) Honorable Wesley L. Hsu
             vs.                    )
   13                               ) ORDER RE JOINT
        CITY OF LOS ANGELES, COUNTY ) STIPULATION TO DISMISS
   14   OF LOS ANGELES, OFFICER     ) DEFENDANTS COUNTY OF LOS
        SHARON KIM, DETECTIVE       ) ANGELES AND DENNIS
   15   DENNIS PARKER, DEPUTY P.    ) PARKER WITHOUT PREJUDICE
        VALENCIA, OFFICER JOHN      ) PENDING APPROVAL OF
   16   COUGHLIN, SGT. NICOLE       ) SETTLEMENT [126]
        AUFDEMBERG, OFFICER         )
   17   TERESA SPIRES, DETECTIVE    )
        LEONARD FELIX, UNKNOWN      )
   18   OFFICERS OF THE LOS ANGELES )
        COUNTY SHERIFF’S            )
   19   DEPARTMENT, UNKNOWN         )
        OFFICERS OF THE             )
   20   LOS ANGELES POLICE          )
        DEPARTMENT,                 )
   21                               )
   22
                  Defendants.       )
                                    )
   23                               )
   24
   25         Before the Court is the joint stipulation to dismiss Defendants County of
   26   Los Angeles and Dennis Parker without Prejudice pending approval of settlement.

   27         Upon good cause having been show, the stipulation is GRANTED.

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    1        Pursuant to the stipulation of the parties:
    2        1. Defendants COUNTY OF LOS ANGELES and DENNIS PARKER are
    3           dismissed, without prejudice, pursuant to Federal Rules of Civil
    4           Procedure, Rule 41(a)(1)(ii) pending the approval of the settlement
    5           reached between Plaintiff and these Defendants, which is contingent
    6           upon and subject to approval by the Los Angeles County Claims Board
    7           and the Los Angeles County Board of Supervisors.
    8        2. If and when the settlement is approved, a dismissal of Defendants
    9           COUNTY OF LOS ANGELES, DENNIS PARKER, LEONARD
   10           FELIX and P. (PEDRO) VALENCIA, with prejudice, shall be filed.
   11        3. Should the Los Angeles Claims Board and Los Angeles County Board
   12           of Supervisors not approve the settlement, Plaintiff shall be entitled to
   13           pursue his claims against Defendants COUNTY OF LOS ANGELES
   14           and DENNIS PARKER pending as of the date of this stipulation.
   15        4. Each party shall bear their own costs, fees, and expenses.
   16
   17   IT IS SO ORDERED.
   18
   19   Dated: May 24, 2024             ____________________________
                                          ________________________
   20                                   HON.  WESLEY
                                         ON. WES  SLEY L. HSU
                                        UNITED STATES DISTRICT JUDGE
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